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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 5, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following document via Electronic Mail upon the service lists attached hereto as
Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached hereto as Exhibit
C, Exhibit D, and Exhibit E:

    •    Order (I) Authorizing the Rejection of Certain Unexpired Leases and Executory
         Contracts Effective as of the Dates Specified Herein and (II) Granting Related Relief
         [Docket No. 889]

Dated: January 11, 2024
                                                               /s/ Michael Villa
                                                               Michael Villa
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                                                                                Exhibit A
                                                                         Core/2002 Service List
                                                                        Served via Electronic Mail



                Description                               CreditorName                       CreditorNoticeName                             Email
                                                                                                                          daniel.guyder@allenovery.com;
                                                                                                                          bradley.pensyl@allenovery.com;
 Counsel to Hon Hai Precision Industry                                                                                    chris.newcomb@allenovery.com;
 Co., Ltd. (a/k/a Hon Hai Technology                                                  Daniel Guyder, Bradley Pensyl,      justin.ormand@allenovery.com;
 Group), Foxconn EV Technology, Inc.,                                                 Christopher Newcomb, Justin         joseph.badtke-berkow@allenovery.com;
 Foxconn EV Property Development LLC,                                                 Ormand, Joseph Badtke-Berkow,       jacob.herz@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                          Jacob R. Herz, Robin Spigel         robin.spigel@allenovery.com
 Counsel to Hon Hai Precision Industry
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 and Foxconn EV System LLC                 Allen & Overy LLP                          Michael Modesto Gale                michael.modestogale@allenovery.com
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 Corp.                                     Austria Legal, LLC                         Matthew P. Austria                  maustria@austriallc.com
 Committee of Unsecured Creditors          Barry L. Leonard & Co. Inc.                Attn: Kim Parsons                   kim@trans-machine.com
 Top 30 and Committee of Unsecured
 Creditors                                 Barry L. Leonard and Company Inc.          dba Trans Machine Technologies      Barry@trans-machine.com
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 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                                                    greg.varallo@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &                Gregory V. Varallo, Glenn R.        glenn.mcgillivray@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                                 McGillivray, Daniel Meyer           daniel.meyer@blbglaw.com
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 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                                 Lowing                              Margaret.Lowing@blbglaw.com
 Counsel to the Official Committee of                                                 Matthew A. Sawyer, Sharon I.        msawyer@brownrudnick.com;
 Equity Security Holders                   Brown Rudnick LLP                          Dwoskin                             sdwoskin@brownrudnick.com
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 Insurance Company                             Connolly Gallagher LLP                 Jeffrey C. Wisler                   jwisler@connollygallagher.com
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 Securities Litigation Lead Plaintiff George
 Troicky                                       Cross & Simon, LLC                     Christopher P. Simon, Esq.          csimon@crosslaw.com
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 DE State Treasury                             Delaware State Treasury                                                    statetreasurer@state.de.us
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 Official Committee of Equity Security         Esopus Creek Value Series Fund LP -
 Holders                                       Series “A”                          Attn: Andrew L. Sole                  andrewsole@ecvlp.com
                                                                                                                         citizenservices@myfloridalegal.com;
 Attorney General of FL (emp operations)       Florida Attorney General               Attn Bankruptcy Department         oag.civil.eserve@myfloridalegal.com
                                                                                      Attention: Jerry Hsiao and Steven jerry.hsiao@foxconn.com;
 Foxconn                                       Foxconn EV Technology, Inc.            Yu                                 stevenyu@foxconn.com
                                                                                      c/o Hon Hai Precision Industry
 Foxconn                                       Foxconn Ventures Ptd. Ltd.             Co., Ltd. Attn Jerry Hsiao         jerry.hsiao@Foxconn.com
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                                                                                                                         bruce@katten.com;
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 Adam Kroll                                  Katten Muchin Rosenman LLP               Rotenberg, Cindi M. Giglio         cgiglio@katten.com
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 Financial Advisor to the Official
 Committee of Equity Security Holders        M3 Advisory Partners                     Robert Winning                      rwinning@m3-partners.com




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                                                                    Core/2002 Service List
                                                                   Served via Electronic Mail



                Description                           CreditorName                         CreditorNoticeName                              Email
 Attorney General of MI (business
 operations)                               Michigan Attorney General                Attn Bankruptcy Department          miag@michigan.gov
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 Valley, Inc.                              P.L.C.                                   Marc N. Swanson                 swansonm@millercanfield.com
 Counsel to the Official Committee of                                                                               emonzo@morrisjames.com;
 Equity Security Holders                   Morris James LLP                         Eric J. Monzo, Brya M. Keilson  bkeilson@morrisjames.com
                                                                                                                    rdehney@morrisnichols.com;
                                                                                    Robert J. Dehney, Matthew B.    mharvey@morrisnichols.com;
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 US Trustee for District of DE             Delaware                                 Benjamin Hackman                benjamin.a.hackman@usdoj.gov
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 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly
 situated stockholders of Lordstown Motors
 Corp. f/k/a DiamondPeak Holdings Corp. Pashman Stein Walder Hayden, P.C. Joseph C. Barsalona II                        jbarsalona@pashmanstein.com
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 situated stockholders of Lordstown Motors                                          Gustavo F. Bruckner, Samuel J.      sjadams@pomlaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Pomerantz LLP                               Adams, Ankita Sangwan               asangwan@pomlaw.com
 Top 30 and Committee of Unsecured
 Creditors                                 SA Automotive LTD                        Shar Hedayat                        Shar.Hedayat@saautomotive.com
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 SEC Regional Office                       Securities & Exchange Commission         PA Regional Office                 philadelphia@sec.gov
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 Technologies Ltd.                         Sullivan Hazeltine Allinson LLC          William A. Hazeltine                whazeltine@sha-llc.com
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 Creditors                                 Superior Cam Inc                         John Basso                          jmbasso@diversifiedtoolinggroup.com
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                                                                      Exhibit A
                                                               Core/2002 Service List
                                                              Served via Electronic Mail



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 in-Possession                           White & Case LLP                   Jason N. Zakia                 jzakia@whitecase.com
                                                                                                           rkampfner@whitecase.com;
 Co-Counsel for the Debtors and Debtors-                                    Roberto Kampfner, Doah Kim, RJ doah.kim@whitecase.com;
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                                                                                                           tlauria@whitecase.com;
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 Local Co-Counsel for the Debtors and                                       Donald J. Detweiler, Morgan L. don.detweiler@wbd-us.com;
 Debtors-in-Possession                   Womble Bond Dickinson (US) LLP     Patterson                      morgan.patterson@wbd-us.com
                                                                                                           bankfilings@ycst.com;
 Counsel to Darren Post, Steve Burns,   Young Conaway Stargatt & Taylor,                                   sbeach@ycst.com;
 John LaFleur, and Rich Schmidt         LLP                                 Sean M. Beach, Shane Reil      sreil@ycst.com




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                    Exhibit B
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                                                    Exhibit B
                                   Second Omnibus Contract Rejection Service List
                                            Served via Electronic Mail

                   CreditorName          CreditorNoticeName                         Email
              275 Hills Tech Ventures   Aidenbaum Schloff and
              LLC                       Bloom PLLC                ssturing@aidenbaum.com
              275 Hills Tech Ventures                             John@venture.com;
              LLC                       Attn: Director or Officer Ashulin@libertypropertymgmt.com
              Comcast Cable
              Communications
              Management, LLC           Attn: Director or Officer Mike_Sherman@comcast.com
                                                                  daniel.guyder@allenovery.com;
              Foxconn EV Property                                 joseph.badtke-berkow@allenovery.com;
              Development LLC           Allen & Overy LLP         jacob.herz@allenovery.com
              Foxconn EV Property
              Development LLC           Allen & Overy LLP       noah.brumfield@allenovery.com
              Foxconn EV Property
              Development LLC           Attention Jerry Hsiao     jerry.hsiao@foxconn.com
              Foxconn EV Property                                 Jerry.Hsiao@foxconn.com;
              Development LLC           Attn: Director or Officer Stevenyu@foxconn.Com
              Foxconn EV Property       Hon Hai Precision
              Development LLC           Industry Co., Ltd         jerry.hsiao@foxconn.com




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                                                                                                            Exhibit C
                                                                                                      Core/2002 Service List
                                                                                                    Served via First Class Mail



             Description                     CreditorName                      CreditorNoticeName                Address1                  Address2             Address3             City        State     Zip      Country
  Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                920 Brenner St                                                       Winston-Salem     NC    27101
  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
  Unsecured Creditors              Inc.                                  Technologies                     Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
  Attorney General of CA (business
  operations)                      California Attorney General           Attn Bankruptcy Department       1300 I St., Ste. 1740                                                Sacramento        CA    95814-2919
  Official Committee of Equity                                                                            201 Main Street, Suite
  Security Holders                 Crestline Management, L.P.            Attn: Shaun McGowan              1100                                                                 Fort Worth        TX    76102
                                                                                                          Attn Bankruptcy             Carvel State
  Delaware State AG and DOJ            Delaware Dept of Justice          Attorney General                 Department                  Building              820 N French St    Wilmington        DE    19801
  DE Secretary of State                Delaware Secretary of State       Division of Corporations         Franchise Tax               PO Box 898                               Dover             DE    19903
                                                                                                          820 Silver Lake Blvd.,
  DE State Treasury                    Delaware State Treasury                                            Suite 100                                                            Dover             DE    19904
  Attorney General of FL (emp
  operations)                          Florida Attorney General          Attn Bankruptcy Department       PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
                                                                                                                                      Grand Pavilion,       802 West Bay                                            Cayman
  Foxconn                              Foxconn (Far East) Limited                                         P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Islands
                                                                         Attention: Jerry Hsiao and       4568 Mayfield Road, Suite
  Foxconn                              Foxconn EV Technology, Inc.       Steven Yu                        204                                                                  Cleveland         OH    44121
                                                                         c/o Hon Hai Precision Industry                          Tucheng Industrial
  Foxconn                              Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao       No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
                                                                                                                                 Grand Pavilion,            802 West Bay                                            Cayman
  Foxconn                              Foxteq Holdings Inc.                                               P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
                                                                                                                                 Grand Pavilion,            802 West Bay                                            Cayman
  Foxconn                              Foxteq Integration Inc.                                            P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
  Attorney General of GA (emp
  operations)                          Georgia Attorney General          Attn Bankruptcy Department       40 Capital Square, SW                                                Atlanta           GA    30334-1300
                                       Hon Hai Precision Industry Co.,                                                           Tucheng Industrial
  Foxconn                              Ltd                               Attention Jerry Hsiao            No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
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  operations)                          Illinois Attorney General         Attn Bankruptcy Department       James R. Thompson Ctr       100 W. Randolph St.                      Chicago           IL    60601
  IRS                                  Internal Revenue Service          Attn Susanne Larson              31 Hopkins Plz Rm 1150                                               Baltimore         MD    21201
                                                                         Centralized Insolvency
  IRS                                  Internal Revenue Service          Operation                        PO Box 7346                                                          Philadelphia      PA    19101-7346
  Financial Advisor to the Official
  Committee of Equity Security                                                                            1700 Broadway, 19th
  Holders                              M3 Advisory Partners              Robert Winning                   Floor                                                                New York          NY    10019
  Attorney General of MI (business                                                                        G. Mennen Williams
  operations)                          Michigan Attorney General         Attn Bankruptcy Department       Building                    525 W. Ottawa St.     P.O. Box 30212     Lansing           MI    48909
  Attorney General of NC (emp
  operations)                          North Carolina Attorney General Attn Bankruptcy Department         9001 Mail Service Center                                             Raleigh           NC    27699-9001
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  US Trustee for District of DE        Trustee Delaware                Benjamin Hackman                   844 King St Ste 2207        Lockbox 35                               Wilmington        DE    19801
  Attorney General of OH (business
  operations)                          Ohio Attorney General             Attn Bankruptcy Department    30 E. Broad St. 14th Fl                                                 Columbus          OH    43215-0410
  Counsel to Foxconn                   Paul Hastings LLP                 Mike Huang, Kevin P. Broughel 200 Park Avenue                                                         New York          NY    10166
  Foxconn                              PCE Paragon Solutions Kft.                                      Komarom                        Banki Donatu utca 1                                              2900       Hungary
  Attorney General of PA (emp                                                                          16th Floor, Strawberry
  operations)                          Pennsylvania Attorney General     Attn Bankruptcy Department    Square                                                                  Harrisburg        PA    17120
  Official Committee of Equity                                                                                                                                                                                      United
  Security Holders                     Pertento Partners LLP             Attn: Ian Trundle                111 Park Street                                                      London                  W1K 7JL      Kingdom




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                                                                                                     Exhibit C
                                                                                               Core/2002 Service List
                                                                                             Served via First Class Mail



             Description                    CreditorName              CreditorNoticeName                   Address1             Address2              Address3               City   State      Zip       Country
  Top 30 and Committee of
  Unsecured Creditors              SA Automotive LTD             Shar Hedayat                      1307 Highview Dr                                                 Webberville     MI      48892
  Committee of Unsecured Creditors SA Automotive Ltd.            Attn: Katherine Diederich         1307 Highview Drive                                              Webberville     MI      48892
                                   Securities & Exchange                                                                   100 Pearl St., Suite
  SEC Regional Office              Commission                    NY Regional Office                Regional Director       20-100                                   New York        NY      10004-2616
                                   Securities & Exchange                                                                                          1617 JFK
  SEC Regional Office              Commission                    PA Regional Office                Regional Director       One Penn Center        Boulevard Ste 520 Philadelphia    PA      19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury         100 F St NE                                                      Washington      DC      20549
  Top 30 and Committee of
  Unsecured Creditors              Superior Cam Inc              John Basso                        31240 Stephenson Hwy                                             Madison Heights MI      48071
  Attorney General of TX (emp
  operations)                      Texas Attorney General        Attn Bankruptcy Department        300 W. 15th St                                                   Austin          TX      78701
  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware          1313 N Market Street    Hercules Building                        Wilmington      DE      19801




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                    Exhibit D
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                                                                             Exhibit D
                                                            Second Omnibus Contract Rejection Service List
                                                                     Served via First Class Mail

        CreditorName            CreditorNoticeName                   Address1                Address2        Address3          City      State Zip Country
                             Aidenbaum Schloff and           6960 Orchard Lake Road,                                     West Bloomfield
 275 Hills Tech Ventures LLC Bloom PLLC                      Suite 250                                                   Township        MI   48322

 275 Hills Tech Ventures LLC Attn Director or Officer        P.O. Box 668                                                Troy              MI   48099
 Cintas Corporation          Attn Director or Officer        P.O. Box 630803                                             Cincinnati        OH   45263
 Comcast Cable
 Communications
 Management, LLC             Attn Director or Officer        1701 John F Kennedy Blvd                                    Philadelphia      PA   19103
 Cox Communications
 California, LLC., Cox
 California Telcom, LLC      Attn Director or Officer        27121 Towne Centre Dr.                                      Foothill Ranch    CA   92610
                                                             Attn Daniel J Guyder,
 Foxconn EV Property                                         Joseph Badtke-Berkow,       1221 Avenue of
 Development LLC               Allen & Overy LLP             Jacob R Herz                the Americas                    New York          NY   10020
 Foxconn EV Property                                                                     1101 New York
 Development LLC               Allen & Overy LLP             Attn Noah Brumfield         Avenue NW                       Washington        DC   20005
                                                                                                        Tucheng
 Foxconn EV Property                                         c/o Hon Hai Precision       No. 66,        Industrial Zone
 Development LLC               Attention Jerry Hsiao         Industry Co., Ltd           Zhongshan Road Tucheng District New Taipei City        23680 Taiwan
 Foxconn EV Property                                         4568 Mayfield Rd., Ste.
 Development LLC               Attn Director or Officer      204                                                         Cleveland         OH   44121
 Foxconn EV Property           Hon Hai Precision Industry                                611 E Wisconsin
 Development LLC               Co., Ltd                      Tsai-Yu Hsiao               Ave                             Milwaukee         WI   53202




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                    Exhibit E
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                                                                   Exhibit E
                                                            Lienholders Service List
                                                           Served via First Class Mail

                                   CreditorName                     Address1                   City State     Zip
                          COMPETITION ENGINEERING, INC     975 COMSTOCK STREET             MARNE    MI    49435-8751
                          HEWLETT-PACKARD FINANCIAL                                        BERKELEY
                          SERVICES COMPANY                 200 CONNELL DRIVE               HEIGHTS  NJ    07922
                          PETERSON JIG AND FIXTURE, INC.   301 ROCKFORD PARK DR. NE        ROCKFORD MI    49341
                          PETERSON JIG AND FIXTURE, INC.   PO BOX 641                      ROCKFORD MI    49341
                          PROPER TOOLING, LLC & PROPER
                          GROUP INTERNATIONAL, LLC         13870 E 11 MILE ROAD            WARREN    MI     48089




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